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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                          No. 15-1267V
                                    Filed: December 12, 2016
                                        Not for Publication

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MICHAEL CRIST,                           *
                                         *
             Petitioner,                 *
                                         *        Attorneys’ fees and costs decision;
 v.                                      *        respondent does not object
                                         *
SECRETARY OF HEALTH                      *
AND HUMAN SERVICES,                      *
                                         *
             Respondent.                 *
                                         *
*************************************
Andrew W. Downing, Phoenix, AZ, for petitioner.
Glenn A. MacLeod, Washington, DC, for respondent.

MILLMAN, Special Master

                DECISION AWARDING ATTORNEYS’ FEES AND COSTS 1

        On October 27, 2015, petitioner filed a petition under the National Childhood Vaccine
Injury Act, 42 U.S.C. §§ 300aa-10–34 (2012) (“Vaccine Act”) alleging that he suffered from
Bell’s palsy and hearing loss caused by his receipt of the influenza (“flu”) vaccine on September
29, 2013. On December 5, 2016, the undersigned issued a decision awarding compensation to
petitioner based on the parties’ stipulation.

       On December 7, 2016, petitioner filed a motion for attorneys’ fees and costs. Petitioner
requests $10,580.00 in attorneys’ fees and $579.72 in costs for a total request of $11,159.72. In
compliance with General Order #9, petitioner’s counsel represents that petitioner incurred no

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
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out-of-pocket expenses. On December 9, 2016, respondent’s counsel filed a response to
petitioner’s motion for attorneys’ fees and costs. Respondent states that she does not object to
the overall amount sought by petitioner. Respondent explains that her lack of objection “should
not be construed as admission, concession, or waiver as to the hourly rates requested, the number
of hours billed, or the other litigation related costs.” Resp. at 1.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300aa-15(e). Based on the reasonableness of petitioner’s request and the lack of opposition, the
undersigned GRANTS petitioner’s application for attorneys’ fees and costs.

        Accordingly, the undersigned awards the total amount of $11,159.72 as a lump sum
in the form of a check payable jointly to petitioner and Van Cott & Talamante, PLLC.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: December 12, 2016                                                    s/ Laura D. Millman
                                                                               Laura D. Millman
                                                                                Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
